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                                                                    August 15, 2024
VIA ECF
Honorable Michael A. Hammer
United States District Court for the
 District of New Jersey
Martin Luther King Courthouse
50 Walnut Street Room 2C
Newark, NJ 07101

       Re:     United States v. Matthew Goettsche, et al., 19-CR-877 (CCC)
               Proposed Modification of Pretrial Release Order

Dear Judge Hammer:

         Please accept this letter in lieu of a more formal motion on behalf of Defendant Matthew
Goettsche. We respectfully move to modify his home confinement bail condition from home
incarceration (Dkt. 171) as modified by this Court to curfew. Mr. Goettsche’s hours of
restriction to the residence shall be directed by Pretrial Services. Pretrial Services and the
government, through AUSA Anthony Torntore, have no objection to this proposed request.
Thank you in advance.

        The Court’s Order Setting Conditions of Release (dkt. 171) requires Mr. Goettsche to
remain under home incarceration and that he “shall remain in the presence of a third-party
custodian at all times unless otherwise approved by Pretrial Services.” The Court previously
approved other proposed consent bail modifications to these conditions (dkts 187, 193, 196, 225,
229, 241, 252, 258, 262, 270, 274, 281, 283, 288, 290, 305, 311, 323, and 348). The Court
previously denied a motion to modify bail conditions (dkt. 268). The aforementioned proposed
modification to home confinement on curfew would not otherwise modify any other conditions
as previously set forth or modified by this Court.


                                                            Respectfully submitted,

                                                            /s/ Rodney Villazor

                                                            Rodney Villazor, Esq.
                                                            CLARK SMITH VILLAZOR LLP
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